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          EXHIBIT C
                     PART 1 OF 3
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United States v. Charlie Javice and Olivier Amar

Summation on Behalf of Olivier Amar
               Case 1:23-cr-00251-AKH   Document 383-5   Filed 04/28/25   Page 3 of 65
Mr. Amar and Ms. Javice Were Not on the Phone During Aug. 2 Emails




                                              11 Minute Call
                                                               6:09 PM ET




                                              Failed Call
                                                               6:22 PM ET




                                                                                         2
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Consider the Defendants and the Evidence Separately




                                                                                  3
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Burden of Proof Is on the Government Alone




                                                                             4
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                Reasonable Doubt




                                                                          5
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 Mr. Amar’s Role at Frank




                                                                          6
                                      Case 1:23-cr-00251-AKH   Document 383-5   Filed 04/28/25   Page 8 of 65
               Mr. Amar’s Job Was Marketing and Increasing Website Visitors


                                  Q.         So, when it came to issues about customer acquisition and
                                             retention, that was Mr. Amar’s job, as far as you understood it?

         CROSS                    A.         Correct.
      EXAMINATION
                                  Q.         And by that, just to be clear, meaning how did people come to
                                             the website? How did they acquire people; right?
                                  A.         Correct.
                                  Q.         Whether they did it through Instagram?
     Mason Young                  A.         Correct.
    Senior Vice President
                                  Q.         TikTok?
                                  A.         Correct.
                                  Q.         Google search?
                                  A.         Whatever platforms Frank was using to acquire users; yes.

March 13, 2025 Trial Tr. 2270:13-25                                                                             7
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Mr. Amar Did Not Lie To Anyone




                                                                            8
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                                      The Government’s False Promises



         • “[Defendants] lied in emails, they lied to dozens of people”
         • “Defendants said that they had over 4 million users . . . who created
           accounts and who gave . . . lots of personal information”
         • “JP Morgan . . . will tell you that the defendants claimed that they had
           millions of users with accounts.”
                                                                 z

         • “[D]efendants told these same lies . . . Capital One.”
         • “You will see a spreadsheet that the defendants created together that
           inflated the number of users they had by millions.”
         • “You will hear from a lawyer who worked at Frank. You will see that the
           defendants lied to him.”


February 20, 2025 Trial Tr. 39:14-15; 36:19-23; 40:18, 20-22; 40:24-25; 40:3-5; 40:10-11                      9
            Case 1:23-cr-00251-AKH   Document 383-5   Filed 04/28/25   Page 11 of 65
         Mr. Amar Did Not Lie To Anyone




 Cowan, LionTree                Wims Morris, JPMC                           Sweeney, JPMC




Young, Capital One               MacDonald, JPMC                        Subramaniam, JPMC

              Not A Single Witness Said He Lied                                             15
                                                                                            10 10
                                   Mr. Amar    Did Not Lie:
                                      Case 1:23-cr-00251-AKH
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              He Never Defined 4.25MM Users as FAFSA Customers to LionTree



                                 Q. Do you see that? Do you see that
                                    number 4.265?
         CROSS
      EXAMINATION


                                 A. I do, sir.
                                 Q. I just want to be clear. Mr. Amar never
    Houston Cowan
           Analyst
                                    explained to you what the 4.25 million
                                    meant in this spreadsheet; correct?
                                 A. Not to my recollection, no.

February 25, 2025 Trial Tr. 320:1-5                                                   11
                                 Mr. Amar    Did Not Lie:
                                  Case 1:23-cr-00251-AKH
                                      Document 383-5 Filed 04/28/25 Page 13 of 65

           He Never Defined 4.25MM Users as FAFSA Customers to Capital One

                                 Q.     You learned about the number of customers that you thought Frank had
                                        within the first week or so of speaking to Ms. Javice; correct?
                                                               *       *         *
         CROSS
      EXAMINATION                A.     Correct.


                                 COURT:          How many customers were [you] told . . . Frank had?
                                                                   *   *     *
     Mason Young                 WITNESS: 4.25 million users was disclosed in the first round of
    Senior Vice President                 diligence.
                                 COURT:          So you had that number in mind even before you met
                                                 Mr. Amar?
                                 WITNESS: Correct.

March 13, 2025 Trial Tr. 2257:14-19; 2259:2-10                                                                 12
                                 Mr. Amar    Did Not Lie:
                                   Case 1:23-cr-00251-AKH
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            He Never Defined 4.25MM Users as FAFSA Customers to JP Morgan




         DIRECT
      EXAMINATION                Q. In 2021 how many customer accounts
                                    did you understand Frank to have?
                                 A. 4.25 million customer accounts.
      Leslie Wims                Q. What was that based on?
         Morris
      Head of Corporate
        Development              A. Based on information that was conveyed
                                    to the firm by Ms. Javice.


February 26, 2025 Trial Tr. 533:9-14                                                13
                                 Mr. Amar    Did Not Lie:
                                     Case 1:23-cr-00251-AKH
                                      Document 383-5 Filed 04/28/25 Page 15 of 65

            He Never Defined 4.25MM Users as FAFSA Customers to JP Morgan


                                    Q.     Who from Frank primarily spoke at the
                                           meetings you attended?
         DIRECT
      EXAMINATION                   A.     Charlie Javice.
                                    Q.     What, if anything, did Ms. Javice say about the
                                           number of Frank users?
                                    A. She consistently represented that Frank had
     Alex Sweeney
     Executive Director                4.25 million customers that it signed up for the
                                       product.
                                    Q.     And did she define the customer user?
                                    A.     Yes.
March 6, 2025 Trial Tr. 1450:5-13                                                            14
                                 Mr. Amar    Did Not Lie:
                                  Case 1:23-cr-00251-AKH
                                      Document 383-5 Filed 04/28/25 Page 16 of 65

            He Never Defined 4.25MM Users as FAFSA Customers to JP Morgan

                                Q.      Who answered questions about Frank’s user data?

         DIRECT
                                A.      Charlie Javice.
      EXAMINATION               Q.      How, if at all, did Ms. Javice define a user?
                                A.      She defined a user as someone with a first name, last name,
                                        e-mail address, and a phone number.
                                Q.      How many such users did Ms. Javice say Frank had, if she said
                                        so at all?
       Sindhu
                                A.      4.25 million.
    Subramaniam
       Vice President,          Q.      At this meeting, was there discussion of Frank’s website
          Corporate
    Development and M&A                 visitors?
                                A.      Yes.
                                Q.      Who addressed that topic on behalf of Frank?
                                A.      Charlie again.

March 13, 2025 Trial Tr. 2297:13-25                                                                     15
                                            Mr. Amar    Did Not Lie:
                                     Case 1:23-cr-00251-AKH
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                                     The Government’s Story vs. The Truth

            DIRECT EXAMINATION                                                          CROSS EXAMINATION

   Q. [W]here did you get your understanding of what
      Frank’s 4.3 million users were?
                                                                              Q.    [T]he only person you have a memory
                                                                                    of providing you a definition of what a
   A. From the company Frank.                                                       Frank user was, was Ms. Javice?
                         * * *
                                                                              A.    That is correct.
   COURT:         Who told you that?
                                                                              Q.    Not Mr. Amar?
   WITNESS:       The executives at the company.
                                                                              A.    I do not have a recollection of Mr.
   COURT:         Who told you that?
                                                                                    Amar.
   WITNESS:       Charlie Javice, Olivier Amar, their         Houston Cowan
                  company materials that they had                             Q.    So when you testified earlier about
                                                                  Analyst
                  prior. So, yeah.                                                  someone from Frank or the Frank
                                                                                    employees providing a definition you
   MR. FERGENSON:
                                                                                    always meant Ms. Javice; correct?
   Q. Which Frank employees typically answered
      questions about Frank’s users, Mr. Cowan?                               A.    My recollection was that it was Ms.
                                                                                    Javice.
   A. That would be Charlie Javice and Olivier Amar.



February 21, 2025 Trial Tr. 111:6-21                                               February 25, 2025 Trial Tr. 318:23-319:6 1616
                                          Mr. Amar    Did Not Lie:
                                   Case 1:23-cr-00251-AKH
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                                   The Government’s Story vs. The Truth




        REDIRECT
      EXAMINATION
                                 Q. Mr. Cowan, who from Frank
                                    answered questions about Frank’s
                                    users, typically
   Houston Cowan
           Analyst
                                 A. Typically that was Charlie Javice
                                    and Matt Glazer.


February 25, 2025 Trial Tr. 409:11-15                                                        17
                                            Mr. Amar    Did Not Lie:
                                     Case 1:23-cr-00251-AKH
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                                     The Government’s Story vs. The Truth


                                Q.         [Y]ou testified yesterday that after that meeting on
                                           June 23rd . . . that Ms. Javice said she would get with
         CROSS                             her team and reconcile the data and provide an
      EXAMINATION
                                           updated document to the data room. Do you recall
                                           giving that testimony?
                                A.         I do.

     Mason Young
                                Q.         But in fact, sir, isn’t it true that what Ms. Javice said
    Senior Vice President                  was she would follow up on the numbers? Not the
                                           team; she would follow up on the numbers after the
                                           June 23rd call?
                                A.         That sounds right.

March 13, 2025 Trial Tr. 2268:9-21                                                                     18
                                    Mr. Amar    Did Not Lie:
                                   Case 1:23-cr-00251-AKH
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                  Ms. Javice Represented All of Frank’s Numbers to JPMorgan



         CROSS
      EXAMINATION
                                 Q. When you purchased this website, . . . did
                                    you know how many people visited that
                                    website?
                                 A. When we purchased the company and
      Leslie Wims
         Morris                     her product, everything I knew about her
                                    business and her product was conveyed
      Head of Corporate
        Development


                                    to us directly by Ms. Javice.


February 27, 2025 Trial Tr. 735:16-20                                                  19
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A Fraud Case with No Lie?




                                                                           20
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“User” Means Many Things, Including A Website Visitor




                                                                                        21
                               “User” Means      Many Things:
                                  Case 1:23-cr-00251-AKH
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              Companies Like Frank Have Many Different Definitions of “User”




         CROSS
      EXAMINATION               Q. And you testified I think yesterday
                                   that companies similar to Frank
                                   have many different definitions of a
     Mason Young
                                   “user”; that was your testimony
    Senior Vice President
                                   yesterday, was it not?
                                A. Correct.

March 13, 2025 Trial Tr. 2243:21-24                                                  22
                                   “User” Means      Many Things:
                                  Case 1:23-cr-00251-AKH
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                       Mr. Rowan Understood “User” to Mean Website Visitor


                            Q. In your position with Apollo,     COURT:     In the period of July and August
                               have you been responsible for                2021, was there any discussion
                               the purchase and sale of                     of numbers of customers that
       CROSS                   various companies before?                    Frank had?
    EXAMINATION
                                                                 WITNESS:   My recollection is that there
                            A. Yes. Numerous companies.                     were over 4 million customers
                                                                            and that by the end of the
                            Q. Can you give a couple                        JPMorgan process, there were
                               examples of companies we                     over 5 million customers.
                               have heard of?
                                                                 MR. CHIUCHIOLO:
    Marc Rowan
    Member, Board of        A.   […] Vail Resorts, Samsonite
                                                                 Q.   Mr. Rowan, you understood that to be
       Directors                 Luggage, Culligan Water,
                                                                      a reference to website visitors,
                                 Ceasars Palace, Venetian
                                                                      correct?
                                 Casino, National Law Journal,
                                 New York Law Journal;           A.   Users, website visitors, customers,
                                 Florsheim, Converse.                 one and the same.

March 20, 2025 Trial Tr. 2998:24-2999:7; 3038:20-3039:3                                                        23
                                       “User” Means      Many Things:
                                     Case 1:23-cr-00251-AKH
                                               Document 383-5 Filed 04/28/25 Page 25 of 65

                               Definition of User Depends on the Context




        REDIRECT
      EXAMINATION               COURT:                   And this [Google Analytics] . . . counts the
                                                         numbers of people who visited the website,
                                                         not the ones who were account holders.
                                WITNESS:                 Yes.
    Jennifer Wong               COURT:                   Even though the same word “users” is used in
         Director of
         Marketing                                       connection with both?
                                WITNESS:                 Yes.



March 4, 2025 Trial Tr. 3402:11-13                                                                      24
                           “User” Means
                       Case 1:23-cr-00251-AKH
                                             Many Things:
                                   Document 383-5 Filed 04/28/25 Page 26 of 65

                 In Google Analytics a “User” is a Website Visitor

                      Q.       And you also mentioned Google Analytics. What is Google
                               Analytics?

DIRECT & CROSS        A.       It is a way to measure website performance at the time. We used it
 EXAMINATION                   specifically to measure how people got to our website, what they
                               did on the website, and then how they went through our website.
                      Q.       Did Frank actively track website visitors using Google Analytics?
                      A.       Yes.                               March 4, 2025 Trial Tr. 1030:12-20 (Direct)

Jennifer Wong
   Director of
   Marketing           Q.      And Google Analytics defines users as people who
                               have visited here the Frank website; correct?
                       A.      Correct.
                                                                  March 4, 2025 Trial Tr. 1135:23-25 (Cross)


                                                                                                                25
                              “User” Means      Many Things:
                                  Case 1:23-cr-00251-AKH
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             JP Morgan Understood Google Analytics Defines Users as Visitors




         CROSS
      EXAMINATION                Q. Are you aware that Google Analytics
                                    defines users as people who visit a
                                    website?
        Ryan
      MacDonald
                                 A. We — I do know that they show
     Head of Growth for
     Financial Products
                                    website visitors as users, yes, but —
                                    yeah


March 17, 2025 Trial Tr. 2520:12-15                                                 26
                  “User” Means
              Case 1:23-cr-00251-AKH
                                    Many Things:
                          Document 383-5 Filed 04/28/25 Page 28 of 65

Frank’s Google Analytics Dashboard Showed 4MM+ Users in 2021

                          Frank – All Web Site Data




                                                            Users

                                                         4,351,004



                                                                        27
                               “User” Means      Many Things:
                                    Case 1:23-cr-00251-AKH
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                Mr. Rowan Understood Frank’s “Users” Meant Website Visitors




         DIRECT
      EXAMINATION
                                    Q. You have used the term “users”.
                                       Does that relate solely to those
                                       who endeavor to complete a
     Marc Rowan
                                       FAFSA application?
                                    A. No. That would be anyone who
     Member, Board of
        Directors



                                       came to the website.

March 20, 2025 Trial Tr. 3007:7-9                                                    28
                            “User”   Means Many Things, Including Visitor:
                               Case 1:23-cr-00251-AKH Document 383-5 Filed 04/28/25 Page 30 of 65

                        Mr. Rowan Believed Website Visitors Were Valuable



                                COURT:           What is aggregate?
         DIRECT
      EXAMINATION               WITNESS:         Aggregate is to collect or attract. . . .
                                                 If they were doing business with a financial
                                                 services company, the more users who
                                                 came to their website who could be
     Marc Rowan                                  referred to that financial services
     Member, Board of
        Directors
                                                 company would make them more and
                                                 more valuable. And it was not just getting
                                                 users to the website, it was getting users
                                                 to the website at a reasonable cost.

March 20, 2025 Trial Tr. 3006:14-3007:5                                                             29
                       “User” Means
                   Case 1:23-cr-00251-AKH
                                         Many Things:
                               Document 383-5 Filed 04/28/25 Page 31 of 65

  Mr. Amar Updated the Frank Website to Accurately Reflect 4.25MM Users




    DIRECT
 EXAMINATION




Jennifer Wong
   Director of
   Marketing




                                                                             30
                           “User” Means      Many Things:
                                   Case 1:23-cr-00251-AKH
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        Jen Wong Checked the 4.25MM Number and Confirmed It Was Accurate

                                Q.       At the time he made this request you went to Google Analytics to
                                         check the 4.25 million number; right?
                                A.       Yes.
         CROSS
      EXAMINATION                                                 *     *      *
                                Q.       Did you look at a place on Google Analytics, a report that reported
                                         how many users Frank had?
                                A.       Yes.
                                                                  *     *      *
    Jennifer Wong               Q.       What was the number that you saw that Google Analytics was
         Director of                     reporting to you back in around February 1,2021 when you checked
         Marketing
                                         this about how many users Frank had?
                                A.       It was around 4.25 million.
                                Q.       That was an accurate number; correct?
                                A.       It was accurate.

March 5, 2025 Trial Tr. 1216:10-12; 1217:2-22                                                                  31
      Case 1:23-cr-00251-AKH   Document 383-5   Filed 04/28/25   Page 33 of 65




Mr. Amar Never Asked His Team to Lie or
            Change Data




                                                                                 32
                                  Case 1:23-cr-00251-AKH   Document 383-5   Filed 04/28/25   Page 34 of 65
     Mr. Amar Never Asked Jen Wong to Report Inaccurate Data or Change Data


                                Q.  During that period of time where you worked daily with Mr. Amar,
                                    fair to say you talked regularly with him about data from Google
                                    Analytics as well as from other sources?
         CROSS
      EXAMINATION
                                A. Yes.
                                Q. And not once did Olivier Amar ever ask you to report inaccurate
                                    data from Google Analytics, did he?
                                                              *      *     *
                                COURT:         Did he use the words -- did he ask you to report data that
                                               was labeled inaccurate?
    Jennifer Wong
         Director of            WITNESS:        No.
         Marketing
                                                              *      *     *
                                Q.     […] Did Mr. Amar ever ask you to change data that Google
                                       Analytics was reporting when you passed it on?
                                A.     No.

March 5, 2025 Trial Tr. 1259:7-16, 1234:24-1235:2                                                            33
                           Case 1:23-cr-00251-AKH   Document 383-5   Filed 04/28/25   Page 35 of 65
           More False Promises from the Government: No Conspiracy


         THE GOVERNMENT STORY                                                             THE TRUTH

• The Government said Defendants created a
                                                                • Mr. Amar added only accurate data to 3.1.4
  spreadsheet (3.1.4) inflating user numbers

• The Government said Defendants inflated their                 • Mr. Amar called that a “huge mislabel”
  visitor data

• The Government said Defendants created synthetic              • Mr. Amar had nothing to do with synthetic data or
  data for JP Morgan’s validation                                 validation

• The Government said Defendants bought a                       • Mr. Amar bought a customer list to augment Frank’s
  customer list to “pass off” to JP Morgan                        users

• The Government said Defendants asked Mr. Vovor                • Ms. Javice asked Mr. Vovor to create synthetic data
  to make a fake list on August 2                                 on August 1

• The Government said Defendants created a                      • When Mr. Amar was in document, it was called
  spreadsheet called “records needed” to give to                  “funnel since Aug 2020,” and there is no proof it
  Dr. Kapelner                                                    contained anything false at that time

• The Government said Defendants passed off the                 • There is no evidence Mr. Amar compiled or passed
  ASL list calling it Frank users in January 2022                 off any such list

                                                                                                                        34
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            No Conspiracy:
3.1.4 – User Breakdown Spreadsheet




                                                                               35
                      No Conspiracy:
               Case 1:23-cr-00251-AKH
                                             3.1.4
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Ms. Javice Asked Jen Wong to Put Google Analytics Data into 3.1.4




                                                                        36
                             No Conspiracy:         3.1.4
                                     Case 1:23-cr-00251-AKH
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       Mr. Amar—with Jen Wong—Put Accurate Google Analytics Data into 3.1.4

                                Q.       And you see that Ms. Javice shares a spreadsheet called User Breakdown?
                                         Do you see that?
                                A.       Yes.
         CROSS                  Q.       And she says, “Here’s the tab. You can see the breakdown need in columns
      EXAMINATION                        F through L. We are taking the Sessions column for this.” Do you see that?
                                A.       Yes.

                                Q.     When you got this request from Ms. Javice to pull this information, did you
                                       just go to Google Analytics and pull information that Google Analytics was
                                       reporting and did you give it back to her?
    Jennifer Wong               A.     Yes.
         Director of
         Marketing              Q.     Meaning, in other words, you didn’t take Google Analytics data and change it
                                       in any way; you just pulled information from Google Analytics and passed it
                                       on.
                                A.     No. We took it exactly from Google Analytics. However, it exported directly
                                       into Google Sheets and then copied and pasted it over to that report that she
                                       requested.

March 5, 2025 Trial Tr. 1227:10-16; 1234:6-16                                                                          37
                      No Conspiracy:
                Case 1:23-cr-00251-AKH
                                             3.1.4
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Mr. Amar—with Jen Wong—Put Accurate Google Analytics Data into 3.1.4




                                                                        38
                            No Conspiracy:
                   Case 1:23-cr-00251-AKH
                                                   3.1.4
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Mr. Amar Didn’t Transmit (Another) Version 3 of 3.1.4 – With 18 More Columns




                                                                               39
                                              No Conspiracy:
                                   Case 1:23-cr-00251-AKH
                                                                     3.1.4
                                                  Document 383-5 Filed 04/28/25 Page 41 of 65

                                       Mr. Amar Never Sent 3.1.4 to Anyone

         DIRECT
      EXAMINATION                THE COURT:             Can I see the forwarding e-mail, please?
                                 MR. FERGENSON:         [P]lease pull up 3010 again […]
                                 THE COURT:             So the information on that chart was sent to you from Charlie Javice?
                                 THE WITNESS:           Yes. That is correct, your Honor.

     Houston Cowan               THE COURT:             And Mr. Amar is not on this memo, right?
           Analyst
                                 THE WITNESS:           That is correct your Honor; he is not.




February 21, 2025 Trial Tr. 175:5-14                                                                                            40
                                  No Conspiracy:         3.1.4
                                      Case 1:23-cr-00251-AKH
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            Mr. Amar Didn’t Have Access to the Virtual Data Room Storing 3.1.4




                                 Q. Sir, isn’t it a fact that while Ms. Javice
         CROSS
      EXAMINATION

                                    and Mr. Glazer were granted access to
                                    the virtual data room, Mr. Amar was
                                    not?
    Houston Cowan
           Analyst
                                 A. I do not recall granting Mr. Amar
                                    access.


February 25, 2025 Trial Tr. 354:3-5                                                 41
          Case 1:23-cr-00251-AKH   Document 383-5   Filed 04/28/25   Page 43 of 65




                 No Conspiracy:
Mr. Amar Called Out “Huge Mislabel” of Visitor Data




                                                                                     42
                             No Conspiracy:           “Huge Mislabel” of Visitor Data
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  = PRE-CORRECTION
  = POST-CORRECTION




   JUN 25
Mr. Amar quotes “3.3mm impressions,”
LionTree asks for data on it




                            JUNE                                                                 JULY




                                                                                                        49
                  No Conspiracy:     “Huge Mislabel”
                Case 1:23-cr-00251-AKH
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Mr. Amar Provided an Accurate Number of 3.3MM Website Impressions




                                                                          44
                              No Conspiracy:           “Huge Mislabel” of Visitor Data
                                  Case 1:23-cr-00251-AKH Document 383-5 Filed 04/28/25 Page 46 of 65



  = PRE-CORRECTION
  = POST-CORRECTION




   JUN 25
Ms. Javice sends mislabeled impressions
data as “unique visitor” data


   JUN 25
Mr. Amar quotes “3.3mm impressions,”
LionTree asks for data on it




                             JUNE                                                                 JULY




                                                                                                         51
          No Conspiracy:     “Huge Mislabel”
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Ms. Javice Sent Mislabeled Visitor Data to LionTree




                                                                  46
                             No Conspiracy    – “Huge Mislabel”
                                   Case 1:23-cr-00251-AKH
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                Mr. Amar Never Touched the Mislabeled Data Sent to LionTree


                          Q.    At the bottom where it
                                says Title, what’s the
                                title?
                          A.    CJ Visitors.
      DIRECT
   EXAMINATION            Q.    […] Mr. Gaddis, who has
                                permissions on this
                                document, which email
                                address?
                          A.    I’m only seeing the
                                charlie@withfrank.org.
    Cory Gaddis
   Records Custodian      Q.    And it’s just the
                                charlie@withfrank.org
                                on this document.
                          A.    Correct.


March 3, 2025 Trial Tr. 848:18-849:1                                                  47
                              No Conspiracy:           “Huge Mislabel” of Visitor Data
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  = PRE-CORRECTION
  = POST-CORRECTION




   JUN 25                                                 JULY 7
Ms. Javice sends mislabeled impressions                Mr. Amar calls out
data as “unique visitor” data                          mislabeled data


   JUN 25
Mr. Amar quotes “3.3mm impressions,”
LionTree asks for data on it




                             JUNE                                                                 JULY




                                                                                                         54
               No Conspiracy:       “Huge Mislabel”
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LionTree Requested a Call to Prepare for the Capital One Meeting




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The Mislabeled Data Was Put In a Slide Deck Reviewed on July 7




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                LionTree Learned About the Mislabeled Data on the July 7 Call


                                 Q.      Now, Mr. Cowan did there come a time when
         DIRECT
                                         you learned that data was not unique website
      EXAMINATION                        visits?
                                 A.      Yes.
                                 Q.      And could you explain to the jury, at a high
   Houston Cowan                         level, what you learned.
           Analyst

                                 A.      We learned that it was mislabeled and that the
                                         data actually represented impressions on the
                                         website rather than unique visitors.

February 21, 2025 Trial Tr. 193:4-11                                                      51
                           No Conspiracy:     “Huge Mislabel”
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            Houston Cowan Said the Correction Came From Someone At Frank



                                 Q.      Does that refresh your recollection that the
         CROSS
      EXAMINATION
                                         person who informed you of this mislabel was
                                         Mr. Olivier Amar?
                                 A.      It does not refresh my recollection, sir.
                                 Q.      But I am right that you know it came from
   Houston Cowan
           Analyst                       Frank and not somebody at LionTree.
                                 A.      That is correct, yes. The answer—rather the
                                         clarification, yes.

February 25, 2025 Trial Tr. 384:18-24                                                   52
                    No Conspiracy:
                Case 1:23-cr-00251-AKH
                                       “Huge Mislabel”
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On the July 7 Call, Mr. Amar Called the Visitors Data a “Huge Mislabel”




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  = PRE-CORRECTION
  = POST-CORRECTION




   JUN 25                                                 JULY 7
Ms. Javice sends mislabeled impressions                Mr. Amar calls out
data as “unique visitor” data                          mislabeled data


   JUN 25
Mr. Amar quotes “3.3mm impressions,”
LionTree asks for data on it
                                                                           JULY 12-13
                                                                        LionTree follows up regarding
                                                                        mislabeled data




                             JUNE                                                                       JULY




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                                  No Conspiracy:     “Huge Mislabel”
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                          LionTree’s Managing Partner Had to Get Involved




                                 Q.         Can we go to 3.1.8, please. Now we’ve established that at some point
            CROSS                           you learned that the Visitors heading was mislabeled, that should have
         EXAMINATION                        been Impressions, correct?
                                 A.         That is correct.
                                                                         *        *       *
                                 Q.         It was so significant that Mr. Braun had to get involved in rectifying that
                                            problem, right?
        Houston Cowan
             Analyst             A.         That is correct; Mr. Braun got involved.
                                 Q.         And he’s one of the top three guys in the company.
                                 A.         That is correct.

February 25, 2025 Trial Tr. 373:19-374:6                                                                                  55
                              No Conspiracy:           “Huge Mislabel” of Visitor Data
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  = POST-CORRECTION




                                                                                         JULY 13
                                                                                      LionTree issues the correction to Capital
   JUN 25                                                 JULY 7                      One as a priority 1 issue, same day as
Ms. Javice sends mislabeled impressions                Mr. Amar calls out             CEO session
data as “unique visitor” data                          mislabeled data


   JUN 25
Mr. Amar quotes “3.3mm impressions,”
LionTree asks for data on it
                                                                           JULY 12-13
                                                                        LionTree follows up regarding
                                                                        mislabeled data




                             JUNE                                                                              JULY




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LionTree Issued the Correction Right Before the CEO Session




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          LionTree’s Correction of the Mislabeled Data that Mr. Amar Called Out




                                                 CROSS             Q. Now, I want to direct your attention specifically
                                              EXAMINATION             to where it says […] Would you please share with
                                                                      us web visitor figures. Do you see that?
                                                                   A. Yes.
                                                                   Q. And this is under Priority 1. This is a critical
                                                                      question the bank wants answered; right?
                                                                   A. Correct.
                                            Mason Young
                                           Senior Vice President




March 13, 2025, Trial Tr. 2275:17-24                                                                                      58
                              No Conspiracy:           “Huge Mislabel” of Visitor Data
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  = POST-CORRECTION




                                                                                         JULY 13
                                                                                      LionTree issues the correction to Capital
   JUN 25                                                 JULY 7                      One as a priority 1 issue, same day as
Ms. Javice sends mislabeled impressions                Mr. Amar calls out             CEO session
data as “unique visitor” data                          mislabeled data
                                                                                             JULY 14
                                                                                           Capital One walks away
   JUN 25
Mr. Amar quotes “3.3mm impressions,”
LionTree asks for data on it
                                                                           JULY 12-13
                                                                        LionTree follows up regarding
                                                                        mislabeled data




                             JUNE                                                                              JULY




                                                                                                                                  68
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                One Day Later, Capital One Walked Away from the Frank Deal




         CROSS
      EXAMINATION
                                 Q. That [CEO] session [...] resulted
                                    in the bank deciding not to
                                    make the purchase; right?
     Mason Young

                                 A. Correct.
    Senior Vice President




March 13, 2025, Trial Tr. 2281: 6-9                                                    60
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What Were the Consequences of Mr. Amar’s
     Calling Out the Huge Mislabel?




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              No Conspiracy:
Mr. Amar Cut Out of JP Morgan Due Diligence




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                    No Conspiracy:     Mr. Amar Cut Out of JP Morgan Diligence
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  = POST-CORRECTION

                                                                                  JULY 13
                                                                               LionTree issues the correction to Capital
   JUN 25                                          JULY 7                      One as a priority 1 issue, same day as
Ms. Javice sends mislabeled impressions         Mr. Amar calls out             CEO session
data as “unique visitor” data                   mislabeled data
                                                                                      JULY 14
                                                                                    Capital One walks away
   JUN 25
Mr. Amar quotes “3.3mm impressions,”
LionTree asks for data on it
                                                                    JULY 12-13
                                                                 LionTree follows up regarding
                                                                 mislabeled data




                             JUNE                                                                       JULY




                                                  JULY 7
                                                JPMC diligence
                                                meeting

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                    No Conspiracy:     Mr. Amar Cut Out of JP Morgan Diligence
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                                                                                  JULY 13
                                                                               LionTree issues the correction to Capital
   JUN 25                                          JULY 7                      One as a priority 1 issue, same day as
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data as “unique visitor” data                   mislabeled data
                                                                                      JULY 14
                                                                                    Capital One walks away
   JUN 25
Mr. Amar quotes “3.3mm impressions,”
LionTree asks for data on it
                                                                    JULY 12-13
                                                                 LionTree follows up regarding
                                                                 mislabeled data




                             JUNE                                                                       JULY


                                                                   JULY 12
                                                                 JPMC diligence
                                                                 meeting


                                                  JULY 7
                                                JPMC diligence
                                                meeting

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